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                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
Billie Rene Frances Lillian Powers,                                    CASE NUMBER


                                                                                     SACV 17-01386 JVS(KESx)
                                          PLAINTIFF(S)/PETITIONER(S)
                                     v.
                                                                             ORDER TO REASSIGN CASE DUE TO
The Bank of New York Mellon, etc., et al.,                                     SELF-RECUSAL PURSUANT TO
                                     DEFENDANT(S)/RESPONDENTS(S)
                                                                                  GENERAL ORDER 16-05


        The undersigned Judge, to whom the above-entitled case was assigned, is hereby of the opinion that he
or she should not preside over said case, by reason of (please use additional sheets if necessary) :

28 U.S.C. Section 455(b)(4) - financial interest in a party




       IT IS HEREBY ORDERED that this case be reassigned by the Clerk in accordance with General
Order 16-05.
          This self-recusal has been Ordered:
                ✔ within 120 days of the Court beingng assigned
                                                        assign
                                                             g ed said case..
                    after 120 days of the Court being assigned
                                                            ned said case.
                                                      assiggne

                September 6, 2017
          Date                                                           United States Di
                                                                                       District
                                                                                        ist
                                                                                          s rict Judge



                                                NOTICE TO COUNSEL FROM CLERK


        This case has been reassigned to Judge         David O. Carter                                . On all documents
subsequently filed in this case, please substitute the initials     DOC                       after the case number in
place of the initials of the prior Judge so that the case number will read:             SACV17-01386 DOC (KESx)            .

          This is very important because documents are routed to the assigned Judge by means of the initials.




cc:        Previous Judge           Statistics Clerk


CV-52 (10/16)                     ORDER TO REASSIGN CASE DUE TO SELF-RECUSAL PURSUANT TO GENERAL ORDER 16-05
